Case 2:09-cv-06244-WJM-MF         Document 30   Filed 07/30/10   Page 1 of 5 PageID: 395




                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY


    EMERGENCY PHYSICIANS OF ST.                      Civil Action No.
    CLARE’S, LLC, MERCER BUCKS                       09-cv-6244-WJM-MF
    ORTHOPEDICS, PC, and PASCACK
    EMERGENCY SERVICES,
                                                     [Filed Electronically]
    On behalf of themselves and all others
    similarly situated,

    Plaintiffs,

            v.

    PROASSURANCE CORPORATION,
    PROASSURANCE CASUALTY
    COMPANY, and PROASSURANCE
    INDEMNITY COMPANY, INC.,

    Defendants.



              PLAINTIFFS’ MEMORANDUM ON JURISDICTIONAL ISSUES

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Case 2:09-cv-06244-WJM-MF         Document 30        Filed 07/30/10    Page 2 of 5 PageID: 396




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                                                2
Case 2:09-cv-06244-WJM-MF           Document 30        Filed 07/30/10       Page 3 of 5 PageID: 397




           On Monday, July 26, 2010, the Court requested that Plaintiffs provide an

    affidavit, declaration, or jurisdictional statement regarding Plaintiff Physicians of St.

    Clare’s LLC (“St. Clare’s”) citizenship in light of Zambelli Fireworks Mfg. Inc. v. Wood,

    592 F.3d 412 (3d Cir. 2010).1 The Court also asked the parties to submit a copy of the

    full healthcare professional liability policy in question. Accordingly, Plaintiffs submit

    this Memorandum on Jurisdictional Issues.

           In Zambelli, the United States Court of Appeals for the Third Circuit held that the

    citizenship of an LLC is determined by the citizenship of each of its members. Id. at 418.

    As declared by Rohan Somar, M.D., President, CEO and managing director of Plaintiff

    St. Clare’s, on December 9, 2009, the date suit was filed, St. Clare’s had eleven (11)

    shareholders all of whom were citizens of New Jersey.2 Therefore, Plaintiff St. Clare is

    only a citizen of the State of New Jersey for jurisdictional purposes, and is diverse from

    all Defendants.

           Because this is a putative class action, the Class Action Fairness Act (“CAFA”),

    28 USCS § 1332(d)(2) is also implicated in jurisdictional issues. CAFA extends federal

    diversity jurisdiction, with certain exceptions, over class actions with 100 or more class

    members in which more than $5 million is in controversy after aggregating class

    members’ claims, and in which any member of the plaintiff class is a citizen of a state

    different from that of any defendant. 28 USCS § 1332(d)(2), (5)(b), (6).3 Here, the


    1
      Zambelli was an individual case, not a class action.
    2
      Citizenship is determined at time of filing. See Navarro Sav. Ass’n v. Lee, 446 U.S.
    458, 459, n.1 (1980). Plaintiff’s Complaint was filed on December 9, 2009.
    3
      For a more complete discussion of CAFA’s jurisdictional requirements see Adighibe v.
    Clifton Telecard Alliance, No. 07-cv-1250, 2008 U.S. Dist. LEXIS 28322 (D.N.J. Apr. 7,



                                                  3
Case 2:09-cv-06244-WJM-MF          Document 30      Filed 07/30/10       Page 4 of 5 PageID: 398




    members of Class I and Class II are likely well over 100. Compl. ¶ 20. In the aggregate,

    the case at bar involves a considerable amount of monetary damages, well over the $5

    million jurisdictional requirement. Additionally, Plaintiffs Mercer Bucks Orthopedics,

    PC and Pascack Emergency Services are also diverse from Defendants as they are

    citizens of the State of New Jersey.



    Dated: July 30, 2010                                Respectfully submitted,

                                                        /s/ Eric Poe
                                                        Eric Poe, Esq.




    2008); Duruaku v. BB&T Bank, No. No. 05-5285, 2006 U.S. Dist. LEXIS 44390 (D.N.J.
    June 29, 2006); Blockbuster, Inc. v. Galeno, 472 F.3d 53, 56 (2d Cir. N.Y. 2006); 5
    Jerold S. Solovy, et al., MOORE’S FEDERAL PRACTICE, § 23.63 (3d ed. 2010).



                                               4
Case 2:09-cv-06244-WJM-MF          Document 30       Filed 07/30/10       Page 5 of 5 PageID: 399




                                CERTIFICATE OF SERVICE

           The undersigned hereby certifies that on July 30, 2010, a true and correct copy of

    Plaintiffs’ Memorandum on Jurisdictional Issues has been duly served on the

    following counsel for Defendants, via the electronic filing system.

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                                                                /s/ Eric Poe
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                                                5
